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                      UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

Eric Schilling
Blaine Krohn
Erik Sinclair

On behalf of themselves and
all others similarly situated

       Plaintiffs

       v.                                                   Case No. 16-CV-202

PGA Inc.

      Defendant.
______________________________________________________________________________

         MEMORANDUM OF LAW IN SUPPORT OF THE PARTIES’
JOINT MOTION FOR PRELIMINARY SETTLEMENT APPROVAL AND APPROVAL
                        OF CLASS NOTICE


                                      INTRODUCTION

       Class representatives Eric Schilling, Blaine Krohn, and Erik Sinclair, along with

Defendant PGA, Inc. (“PGA”) jointly seek preliminary approval of a proposed settlement of the

class claims advanced by this action, which alleged violations of the overtime provisions of both

the Fair Labor Standards Act (“FLSA”) and Wisconsin law. The proposed settlement resolves all

pending class claims in return for PGA paying an agreed upon amount to be distributed to class

members on a pro-rata basis based upon the relative sizes of their claims. The proposed settlement

resulted from arms-length negotiations by experienced counsel, following the Plaintiffs’ appeal

from the Court’s grant of summary judgment for, and entering judgment in favor of, PGA on the

overtime pay computation claims.
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       Because the terms of the proposed settlement of class claims are fair, reasonable, and

adequate, the parties jointly request that the Court:

       (i)     Preliminarily approve the settlement attached as Exhibit A;

       (ii)    Approve the Notice attached as Exhibit B for distribution by mail to the Collective

               Class Members and Rule 23 Class Members;

       (iii)   Find that the Notice to be given constitutes the best notice practicable under the

               circumstances, including individual notice to all Rule 23 Class Members and

               Collective Class Members who can be identified with reasonable effort, and

               constitutes valid, due, and sufficient notice to Rule 23 Class Members and Collective

               Class Members in full compliance with the requirements of applicable law,

               including the due process clause of the United States Constitution;

       (iv)    Authorize Class Counsel to mail to all class members the Class Notice.

       (v)     Direct that all Rule 23 Class Members shall be bound by this Agreement in the

               event the Court issues a Final Order Approving Settlement.

       (vi)    Direct that all Collective Class Member shall be bound by this Agreement in the

               event the Court issues a Final Order Approving Settlement.

       (vii)   Schedule a Fairness Hearing to determine whether this Settlement Agreement

               should be approved as fair, reasonable, and adequate and whether the proposed

               Final Order Approving Settlement should be entered;

       (viii) Direct that Class Counsel shall file a Motion for Approval of Attorney’s Fees and

               Costs at least twenty-one (21) days prior to the Fairness Hearing, and further that

               any supplemental brief in support of final approval of the Settlement Agreement,

               including the Incentive Payments, or in response to any objections to the application
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               for attorney’s fees and costs be filed at least seven days before the Fairness Hearing,

               and that the Court shall determine at the Fairness Hearing in what amount attorney’s

               fees and reimbursement of costs and expenses should be awarded to Class Counsel;

               and

       (ix)    Direct that any Rule 23 Class Member or Collective Class Member who wishes to

               object in any way to the proposed Settlement Agreement must file and serve such

               written objections per the instructions set forth in the Notice no later than thirty (30)

               days after the mailing of the Notice, together with copies of all papers in support of

               his or her position. The Class Notice shall state that the Court will not consider

               objections of any Rule 23 Class Member or Collective Class Member who has not

               properly served copies of his or her objections on a timely basis.

                               PROCEDURAL BACKGROUND

       The original complaint in this case was filed on March 31, 2014; and included FLSA

consent forms from Eric Schilling, Blaine Krohn, and Eugene Nickell. (Docket #1.) Of the claims

subject to the settlement, the only one included in the original complaint was that cash payments

PGA labelled as cash fringe payments should be included when computing the Plaintiffs’ FLSA

and Wisconsin law overtime pay. (Id.) On October 30, 2016, the parties consented to the filing of

a Second Amended Complaint that removed Nickell as a Named Plaintiff. (Docket #15-16.)

       The Court accepted the parties’ stipulation on conditional certification of the FLSA claims

on November 3, 2017. (Docket #24.) A total of 9 employees subsequently opted into the lawsuit

including Eric Sinclair. (Docket #25, 27, 32, 34-36.) On February 16, 2017, the Court granted the

Plaintiffs’ motion to amend the complaint in part, permitting the Plaintiffs to both change Erik

Sinclair from an opt-in plaintiff to a named plaintiff; and to bring their Wisconsin law claim that
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overtime pay must be computed using the average straight time wage earned during the week.

(Docket #61.)

       On March 14, 2018, the Court granted the Plaintiffs’ motion to certify a Rule 23 class and

denied PGA’s motion to decertify the FLSA collective action. (Docket #118.) A total of 12

individuals submitted timely consents to join the collective class. (Docket #2-4, 23, 25, 27, 32, 34-

36, 42.) Class notice was sent to 106 individuals and 38 opted out of the lawsuit.

       On October 23, 2018, the Court granted PGA’s motion for summary judgment on the cash

fringe and overtime computation claims. (Docket #132.) The Court subsequently denied the

Plaintiffs’ motion for reconsideration of its summary judgment ruling. (Docket #141) Following

the parties’ filing of both a stipulation and a joint motion to dismiss Count III of the operative

complaint that was not affected by the Court’s summary judgment ruling (Docket #139, #140), the

Court entered judgment in favor of PGA on the cash fringe and overtime computation claims.

(Docket #142.)

       The Plaintiffs timely appealed from the entered judgment on March 7, 2019. (Docket #150)

The parties subsequently participated in a mandatory mediation with the Seventh Circuit Court of

Appeals. (Ho Dec. ¶ 2.) The parties exchanged approximately five settlement proposals,

exchanged additional time and payroll information for class members, and engaged in discussion

on how Wisconsin overtime pay should be computed before PGA made a final settlement offer

that the Named Plaintiffs decided to accept. (Ho Dec. ¶¶ 3-5.)

       Under the final settlement offer the Plaintiffs accepted, PGA agreed to pay to members of

the collective action on their FLSA claims the total of $8,532.86, representing 175% of their

maximum wage recovery under the FLSA. (Ho Dec. ¶ 5.) PGA agreed to pay to members of the

Wisconsin class the total of $5,019.14 for their overtime hours worked on prevailing wage projects,
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representing 25% of their maximum recovery on that claim. (Ho Dec. ¶ 6.) PGA also agreed to

pay to members of the Wisconsin class the total of $15,320.00 for their overtime hours worked on

non-prevailing wage projects, representing about 125% of their maximum recovery if overtime

pay should be computed as ½ of the regular rate; and 41.67% of their maximum recovery if

overtime pay should be computed as 1.5 times the regular rate. (Ho Dec. ¶ 7.) The settlement

permits Class Counsel to petition the Court for class representative incentive awards of $1,400

each to Sinclair, Krohn, and Schilling, to be paid out of the class recovery. (Ex. A, ¶ 5(a)(i).) PGA

also pays to Class Counsel attorney’s fees in an amount not to exceed $25,000. (Ho Dec. ¶ 8.) The

proposed settlement thus provides a total recovery of $28,872.00 for the class, and maximum

attorneys’ fees of $25,000.00.

                                       LEGAL ANALYSIS
1.     The Court Should Grant Preliminary Approval Of the Settlement Because It Is Fair,
       Reasonable, and Adequate.

       There is no need for the Court to again take up the questions of class certification when it

has already granted the parties’ stipulation for FLSA conditional certification (docket #24),

denied PGA’s motion to decertify the conditionally certified FLSA collective action (docket

#118), and granted the Plaintiffs’ motion to certify a Rule 23 class on the overtime computation

claims (Docket #118).

       a.      The FLSA Settlement Should be Approved.

       FLSA claims cannot be settled in the absence of court or Department of Labor approval.

See Walton v. United Consumers Club, Inc., 286 F.2d 303, 306 (7th Cir. 1986) (“[T]he Fair Labor

Standards Act is designed to prevent consenting adults from transacting about minimum wages

and overtime pay. Once the Act makes it impossible to agree on the amount of pay, it is necessary

to ban private settlements of disputes about pay. Otherwise the parties' ability to settle disputes
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would allow them to establish sub-minimum wages.”). Before approving an FLSA settlement,

the court must ensure that the settlement's terms and conditions (1) represent “a fair and

reasonable resolution of a bona fide dispute over FLSA provisions” and (2) reflect “a compromise

of disputed issues [rather] than a mere waiver of statutory rights brought about by an employer's

overreaching.” Lynn's Food Stores, Inc. v. U.S. Dept. of Labor, 679 F.2d 1350, 1354-55 (11th

Cir. 1982).

      The FLSA class will recover 175% of the wages they allegedly lost because PGA

computed their prevailing wage overtime pay as 1.5 times the wage rate plus 1 time the cash

fringe payment, as opposed to 1.5 times both the wage rate and the cash fringe payment. The

maximum recovery for the class is 100% liquidated damages and therefore 200% of the unpaid

wages. 29 U.S.C. §216(b). For the class to receive 175% rather than 200% of wages allegedly

lost in a settlement is reasonable given two considerations: First, the District Court ruled that

PGA complied with the FLSA in its computation of overtime pay, so the Plaintiffs faced some

risk that the Court of Appeals would agree with the District Court. Second, even if the Court of

Appeals did reverse the District Court, on remand PGA would have argued that it satisfied 29

U.S.C. §260 given its reliance on the DWD’s advice on how prevailing wage overtime pay should

be computed. The Court could then exercise its discretion to either award no liquidated damages,

or to award liquidated damages of a smaller amount. The proposed FLSA settlement is clearly

reasonable given these risks for the class to recover less by going through the appeal.

      b.      The Wisconsin Settlement Should be Approved.

      The settlement of a class action requires court approval pursuant to Fed. R. Civ. P. 23(e).

To approve a settlement, the court must determine that it is “fair, adequate and reasonable, and

not a product of collusion.” Great Neck Capital Appreciation Inv. Partnership, L.P. v.
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PricewaterhouseCoopers, L.L.P., 212 F.R.D. 400, 409 (E.D. Wis. 2002). In making this

determination, the court must bear in mind that the settlement of class action litigation is favored.

Id. The court should not substitute its own judgment regarding optimal settlement terms for the

judgment of the litigants and their counsel. Id. In order to determine whether a settlement is fair,

adequate, and reasonable, courts consider factors including: (i) the strength of the plaintiffs’ case

balanced against the settlement offer; (ii) the defendants’ ability to pay; (iii) the burdens of further

litigation; (iv) the amount of opposition to the settlement; (v) the presence of collusion; (vi) the

opinion of competent counsel; and (vii) the stage of the proceedings and the amount of discovery

that has been completed. EEOC v. Hiram Walker & Sons, Inc., 768 F.2d 884, 889 (7th Cir. 1985).

The first factor is the most important. Id.

        On appeal, the Plaintiffs drew a distinction between overtime hours worked on prevailing

wage projects and overtime hours worked on non-prevailing wage projects. Plaintiffs agree that

Wisconsin’s prevailing wage statutes controlled as to whether cash fringe payments must be

included when computing overtime pay on prevailing wage hours worked. For non-prevailing

wage overtime hours, Plaintiffs would argue that under DWD §274.03 overtime pay must be

computed using the employee’s regular rate, that Wisconsin adopted the FLSA’s exclusions from

the regular rate, and that cash fringe payments cannot be excluded from the regular rate

computation under Wisconsin law because it cannot be excluded from the regular rate under the

FLSA.

        The parties reasonably settled the non-prevailing wage overtime claim for a total payment

of $15,320 to the class. The District Court ruled that PGA was permitted to use the type of work

method rather than the regular rate method to compute overtime pay under Wisconsin law. Had

the Court of Appeals agreed with the District Court and affirmed its ruling, the class would not
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have recovered any non-prevailing wage overtime pay. Even if the Court of Appeals disagreed

with the District Court, it could have ruled that the FLSA did not provide a good analogy with

Wisconsin law, so that class members’ damages would be substantially reduced because cash

fringe payments need not be counted when computing the regular rate.

      Even if the Court of Appeals overturned the District Court and found that overtime pay

under Wisconsin law must be computed using the regular rate including the cash fringe payments,

the parties disagree as to how overtime pay should be computed. Take the example of an

employee who received $20 per hour for 40 hours of straight time, and 1.5 times $10 per hour

for 10 hours of overtime for a total of $950, so that his average straight time wage rate for the

week was $18 per hour. Assuming the Plaintiffs prevailed on liability, PGA would have argued

the employee is entitled to $18 for the first 40 hours worked and 1.5 times $18 for each of 10

overtime hours worked, for a total of $990. The Plaintiffs would argue the employee must receive

the full $20 per hour for each of his straight time hours worked under Wisconsin law, so that he

is entitled to $20 times 40 hours and 1.5 times $18 for each of 10 overtime hours worked, for a

total of $1,070. In each instance computing damages using the Plaintiffs’ method would produce

a result that is exactly three times the result using PGA’s method.

      Wisconsin courts have not directly addressed the disputed issues of: (1) how overtime pay

should be computed under Wisconsin law for workweeks during which the employee received

more than one hourly wage rate, (2) whether §207(e) of the FLSA should be read into DWD

§274.03, and (3) whether Wisconsin law permits using the employee’s regular rate, as opposed

to straight time wages, when computing overtime pay. The settlement payment represents

approximately 1.25 times PGA’s maximum liability if the Plaintiffs’ liability theory and PGA’s

damage calculation method is accepted; and about 41.67% of PGA’s maximum liability if the
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Plaintiffs’ liability theory and damage calculation method are both accepted. This amount

represents a reasonable compromise of vigorously disputed claims.

       Similarly, paying Wisconsin prevailing wage overtime pay as 25% of PGA’s maximum

exposure is a reasonable compromise of vigorously disputed claims. Plaintiffs faced the risk that

the Seventh Circuit would give due weight deference to the DWD’s interpretation that the cash

fringe payments need not be included when computing overtime pay pursuant to Tetra Tech Inc.

v. Wisconsin Department of Revenue, 2018 WI 75, ¶79, 382 Wis. 2d 496. No Court has addressed

the issue of whether cash fringe payments constitute a benefit for which an employer makes

irrevocable contributions to a fund, plan, program, or trust; so the Plaintiffs faced risk that the

Court of Appeals would conclude the cash fringe payment is more analogous to a fringe benefit

contribution than to a payment of wages, and therefore an employer need not pay overtime

premium pay on the cash fringe payments.

       Other factors similarly support granting preliminary approval to the parties’ settlement

agreement. The settlement comes after the completion of all district court proceedings in the case,

including a full opportunity by both parties to conduct written discovery and depositions. Further

litigation including, the appeal pending before the Seventh Circuit and, if required, litigating the

issues of liability, damage calculations, and the appropriateness of awarding liquidated damages

would be extremely burdensome on both parties. This settlement is the product of arms-length

negotiations initiated by and overseen by the Seventh Circuit’s Mediation Office, rather that the

product of collusion. Finally, the opinion of Class Counsel is in favor of approving the settlement,

as discussed in this joint brief in support of preliminary settlement approval.

       Both the proposed attorneys’ fee award and class representative incentive award should

also receive preliminary Court approval as within the range of reasonableness. A fee award of a
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maximum of $25,000 is substantially below the Lodestar when taking into account the

approximately two hundred hours that Class Counsel has spent litigating this case, not counting

time spent litigating the prevailing wage claim for Schilling and Krohn that is not included in

this settlement. (Ho Dec. ¶9) Awarding to Class Counsel about 45% of the total recovery is also

within the range of 33% to 50% that is customary in contingency fee agreements. In re Cont’l

Ill. Sec. Litig., 962 F. 2d 566, 572 (7th Cir. 1992). Class representative incentive awards of $1,400

each to the three class representatives is reasonable, as the awards are modest in amount, while

but for the class representatives’ participation and persistence through more than three years of

litigation no class recovery would have been possible.

       2.      The Court Should Approve the Proposed Notice for the Class.

       The parties also request that the Court approve the proposed Class Notice. Under Rule

23(e), the Court must “direct notice in a reasonable manner to all class members who would be

bound by the proposal.” Fed. R. Civ. P. 23(e)(1). A settlement notice need only be “reasonably

calculated, under all of the circumstances, to apprise interested parties of the pendency of the

settlement proposed and to afford them an opportunity to present their objections.” In re

BankAmerica Corp. Sec. Litigation, 210 F.R.D 694, 707 (E.D. Mo. 2002). The notice must

“clearly and concisely state in plain, easily understood language[:]” (1) the nature of the action,

(2) the definition of the class certified, (3) the class claims, issues, or defenses, (4) that a class

member may enter an appearance through an attorney if the member so desires; (5) the time and

manner for requesting exclusion; and (6) the binding effect of a class judgment on members

under Rule 23(c)(3). Fed. R. Civ. P. 23(c)(2)(B).

       Here, the notice that the parties have prepared explains in clear and easy to understand

language the options that are available to class members, and how their rights may be affected by
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selecting each of those options. The proposed notice features bold headings and well-defined

sections to aid in understanding and satisfies each of the Rule’s substantive requirements. See

sections 2, 1, 7, 10, and Your Legal Rights Section. The Class Notice should be approved.

                                        CONCLUSION

       The proposed settlement represents a good faith resolution of disputed claims and

appropriately balances the risks of future litigation against the benefits of a certain and final

resolution. The terms of the proposed settlement are fair, adequate, and reasonable, and they will

provide substantial benefits to participating class members. For these reasons, the parties

respectfully request that the Court grant this motion and issue an order granting preliminary

approval to the proposed settlement.

      Respectfully submitted this 18th day of September, 2019.



                                             s/Yingtao Ho
                                             Yingtao Ho
                                             THE PREVIANT LAW FIRM, S.C.
                                             Attorney for Plaintiffs
                                             310 W. Wisconsin Ave. Suite 100MW
                                             Milwaukee, WI 53212
                                             414-271-4500 (Telephone)
                                             414-271-6308 (Fax)
                                             Email: yh@previant.com


                                             /s/Robert Driscoll__________
                                             Robert S. Driscoll (SBN 1071461)
                                             REINHART BOERNER VAN DEUREN S.C.
                                             Attorneys for Defendant
                                             22 East Mifflin Street, Suite 600
                                             P.O. Box 2018
                                             Madison, WI 53701-2018
                                             608-229-2200 (Telephone)
                                             608-229-2200 (Fax)
                                             Email: rdriscoll@reinhartlaw.com
